    Case 2:10-cr-20198-DPH-PJK ECF No. 96, PageID.269 Filed 07/29/11 Page 1 of 8




                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF MICHIGAN
                                      SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                   Plaintiff,                                 CASE NO. 10-20198

v.                                                            HONORABLE DENISE PAGE HOOD


TYREE DAVON WASHINGTON (D-1),

            Defendant.
________________________________________/

ORDER DENYING DEFENDANT TYREE WASHINGTON’S MOTION TO SUPPRESS
                       IDENTIFICATION

I.         INTRODUCTION

           This matter is before the Court on Defendant Tyree Washington’s Motion to Suppress

Identification [Docket No. 59, filed on December 29, 2010]. The Government filed a brief in

opposition of this motion [Docket No. 68, filed on January 7, 2011], to which Defendant

Washington filed a reply [Docket No. 72, filed on January 12, 2011]. The Government filed a

Surreply on January 13, 2011 [Docket No. 75].

II.        STATEMENT OF FACTS

           In an indictment issued September 23, 2010, Defendant Tyree Washington,

“Defendant,”1 is charged with aiding and abetting in a carjacking in violation of 18 U.S.C. §§

2119(1) & (2). Count 2 of the indictment charges Defendant with use of a firearm during and in

relation to a crime of violence, in violation of 18 U.S.C. § 924 (c). Count 5 of the indictment

charges Defendant with use of a firearm during and in relation to a crime of violence in violation




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    Defendant is charged along with co-defendants William Beal and Christopher Richardson.

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Case 2:10-cr-20198-DPH-PJK ECF No. 96, PageID.270 Filed 07/29/11 Page 2 of 8




of 18 U.S.C. § 924(c). Count 8 of the indictment charges Defendant with being a felon in

possession of a firearm in violation of 18 U.S.C. § 922 (g)(1).

       Defendant is accused of participating in a carjacking that occurred on March 14, 2010 in

Dearborn Heights, Michigan. According to testimony of the alleged victim, John Nesbitt (“Mr.

Nesbitt”), Crystal Nesbitt (“Mrs. Nesbitt”), and their thirteen-year old son had just stepped out of

their vehicle, when they were approached by Defendant. Defendant allegedly proceeded to

threaten Mr. Nesbitt with a firearm and demand the keys to the vehicle, a 2009 Dodge Charger.

Mr. Nesbitt claims that he and Defendant had a brief conversation during which Defendant

demanded the keys from him and told him to “run his pockets.” Mr. Nesbitt also alleges that

Defendant “racked” his gun and pointed it at him, exclaiming “You think I’m playing with you?”

Mr. Nesbitt reportedly told Washington that he did not have the keys, at which time Mr.

Nesbitt’s thirteen year-old son threw the keys at Defendant, who was reportedly standing

between 8 and 12 feet away from Mr. Nesbitt. Mr. Nesbitt contends that during the entire

exchange he had a clear view of Defendant. At the time, Mr. Nesbitt was wearing protective

eyeglasses to prevent dust from entering into his eye. He had undergone eye surgery the previous

month. Mr. Nesbitt claims that he could see Defendant clearly through the glasses. Defendant

allegedly took the glasses from Mr. Nesbitt, presumably because he believed them to be of value.

Following the exchange, Defendant struggled with the remote key pad used to open the vehicle.

While Defendant struggled to open the vehicle, Mr. Nesbitt claims that he was able to further

observe him. Defendant and his alleged co-defendant entered the 2009 Dodge Charger and drove

away. Mr. Nesbitt claims that he watched Defendant as he drove away in the stolen vehicle and

was able to get a “great” view of him. The police report does not contain a description of




                                                -2-
Case 2:10-cr-20198-DPH-PJK ECF No. 96, PageID.271 Filed 07/29/11 Page 3 of 8




Defendant provided by Mr. Nesbitt. The stolen vehicle was discovered within six hours of the

alleged carjacking.

          Mrs. Nesbitt provided a description of the accused carjackers. On March 14, 2010, Mrs.

Nesbitt described two carjackers, one with a light brown complexion and one with a dark brown

complexion. The police report states that the two Defendants were both described as being

approximately 20 years old, clean shaven and 5’6 and 5’7 respectively. Although a police report

was completed in Dearborn Heights on March 14, 2010, it was not until August 17, 2010, almost

five months later, that Mr. Nesbitt provided descriptions of the accused carjackers to the Detroit

Police.

          The subject of this motion is the identification made by Mr. Nesbitt on August 17, 2010

from a photographic line-up or “photo array.” On August 17, 2010 Mr. Nesbitt was interviewed

by Officers Scott Herzog (“Officer Herzog”) and Anthony Gavel (“Officer Gavel”), both

members of the FBI violent crimes task force. Mr. Nesbitt was interviewed at a Detroit police

station located at Schaefer and Grand River. Mr. Nesbitt was first asked to describe the keys that

were taken from his possession and was shown a photograph of a set of keys which he identified

as being the keys that were stolen. In this interview Mr. Nesbitt also provided descriptions of the

alleged suspects. He claimed that one suspect had a lighter brown complexion, a small beard,

was about 5’9 and wore dark clothing. Mr. Nesbitt claimed that the other suspect had a darker

complexion, was clean shaven (did not have facial hair), was about 5’7” and wore dark clothing.

At the evidentiary hearing on June 17, 2011, Mr. Nesbitt described the assailant as a “young

thug,” and as being smaller than Mr. Nesbitt.

          Prior to the presentation of the photo array at the police station, Mr. Nesbitt was given

directions by the two officers. He was instructed to select the suspect that he identified as the



                                                   -3-
Case 2:10-cr-20198-DPH-PJK ECF No. 96, PageID.272 Filed 07/29/11 Page 4 of 8




assailant. Mr. Nesbitt was told by the officers that the photographs could be affected by the

lighting of the camera, and that some features such as hair and facial hair could be easily

changed. He was told that if he saw the suspect to circle him, and if he did not recognize any

subject, then that was not a problem.

       Both Officer Herzog and Mr. Nesbitt claim that Mr. Nesbitt was able to immediately

identify Defendant in the first photo array presented to him. Mr. Nesbitt circled the suspect and

initialed his identification. Mr. Nesbitt was given two other photo arrays, with the same

directions as the first. Mr. Nesbitt admitted that he was unable to identify any suspects in the

subsequent photo arrays. Mr. Nesbitt testified that he never felt as if he was being coerced or

forced into saying anything and that he made the identification voluntarily. Finally, Mr. Nesbitt

was not informed of which suspect he was to identify in each of the line-ups. He was only

instructed to identify the suspect, if any, that he recognized.

III.   APPLICABLE LAW & ANALYSIS

       Defendant claims that the “procedure law enforcement used to obtain the

identification was ‘so impermissibly suggestive as to give rise to a very substantial likelihood of

irreparable misidentification’ and as a result, any evidence of such identifications must be

suppressed.” Simmons v. United States, 390, U.S. 377, 384 (1968); [Doc. No. 59, Motion to

Suppress Identification and Request for an Evidentiary Hearing, Page 3].

       In the present matter, Defendant argues that in the photo array shown to Mr. Nesbitt he

“appears to have the lightest skin of all the individuals.” [Doc. No. 59, Motion to Suppress

Identification and Request for an Evidentiary Hearing, Page 4]. Defendant further argues that

“the lighting of the photo as reflected upon [him] would naturally lead any impartial viewer to




                                                 -4-
Case 2:10-cr-20198-DPH-PJK ECF No. 96, PageID.273 Filed 07/29/11 Page 5 of 8




believe that Mr. Washington was the suspect.” [Doc. No. 59, Motion to Suppress Identification

and Request for an Evidentiary Hearing, Page 4].

       The Government claims that the photo identification was proper. Testimony presented at

the evidentiary hearing by Government witness Police Officer Donald Farris (“Officer Farris”)

details the process used for creating the photo array. Officer Farris used an electronic database to

select photos for the photo array. Officer Farris testified that he created the photo array by first

entering the photo of the suspect, and subsequently adding photographs of people with

characteristics similar to those of the accused. He explained that he uses a search tool to identify

photos to add to the line-up. The search is completed by entering criteria and choosing among

the photographs presented in the search. The photo array presented to Mr. Nesbitt included five

other African American men, some who appear to have facial hair, and some without. Officer

Farris conceded that while all six photos do not have identical characteristics, he does his best to

include photographs with characteristics similar to those of the suspect’s

photograph. Officer Farris typically reviews several hundred photos to create an array of six. He

testified that adding too many criteria to the search can limit the number of possible photos to

choose from for the array. Officer Farris also testified that witnesses are encouraged not to pay

attention to characteristics in photographs that can be easily changed, such as facial hair and

complexion. Officer Farris explained that complexion can be easily altered based on lighting

conditions. Officer Farris claimed that as a result of the glare on Defendant’s photo, he attempted

to include other photos with a similar glare. Officer Farris used the most recent photo of

Defendant Washington in the database. In the photo array at issue, Officer Farris claimed that

photos 1, 2, 4, and 5 all had a similar glare.




                                                 -5-
Case 2:10-cr-20198-DPH-PJK ECF No. 96, PageID.274 Filed 07/29/11 Page 6 of 8




       In order to assess the validity of a pretrial identification, the Court has established a two-

step analysis. Ledbetter v. Edwards, 35 F.3d 1062, 1070-71 (6th Cir. 1994). The first step of the

analysis “considers whether the procedure was unduly suggestive. The defendant bears the

burden of proving this element.” Id. Second, should the court find that the procedure was unduly

suggestive, the totality of the circumstances are evaluated to determine whether the identification

was reliable, regardless of the suggestiveness. The five factors to be considered are: (1) the

opportunity of the witness to view the criminal at the time of the crime; (2) the witness’s degree

of attention at the time of the observation; (3) the accuracy of the witness’s prior description of

the criminal; (4) the level of certainty demonstrated by the witness when confronting the

defendant; and (5) the length of time between the crime and the confrontation. Id.

       Defendant has not demonstrated how the identification procedure was unduly suggestive.

Defendant claims that he appears to have the lightest skin in the line-up, and that there is a glare

on his photo that would bias any viewer of the photo. [Doc. No. 59, Motion to Suppress

Identification and Request for an Evidentiary Hearing, Page 4]. The Government argues that

while there does appear to be a glare on Defendant’s photo, other photos included in the array

have a similar glare. The bias against Defendant has not been adequately demonstrated to

support a finding of undue suggestiveness. This claim fails.

       The procedure used to make the identification has not been shown to be unduly

suggestive. Testimony by Officer Farris, who created the photo array at issue, supports the

finding that an unbiased and objective procedure was used to create the line-up. Officer Farris

explained that he chose suspects whose physical characteristics closely resembled those of the

Defendant. Mr. Nesbitt testified that at the time of the alleged carjacking the suspect had a small

beard. The photo array included two photos that clearly had a beard, and three or four photos



                                                 -6-
Case 2:10-cr-20198-DPH-PJK ECF No. 96, PageID.275 Filed 07/29/11 Page 7 of 8




that, on the Court’s review, possibly had a beard. Officer Farris thought that two photos,

possibly three, depicted individuals with facial hair. The fact that each picture does not clearly

indicate a beard is insufficient to find that the procedure was unduly suggestive. Furthermore,

according to the testimony, Mr. Nesbitt was informed that facial hair was easily altered. The

Government argues that Mr. Nesbitt was never informed that any of the suspects were present in

any of the three photo arrays that Mr. Nesbitt viewed. He was only instructed to circle a suspect

if he found one to be present in the photo array.

        The evidence presented by Defendant is insufficient to demonstrate an unduly suggestive

procedure. Defendant has failed to satisfy his claim regarding the suggestiveness of the process

used to make the identification. Because he has failed to satisfy the first prong of the Ledbetter

analysis, the test fails.

        Even if Defendant had satisfied the first prong of the Ledbetter analysis, the totality of the

circumstances supports a finding that the identification was reliable. Mr. Nesbitt testified he was

focused and had a “great” opportunity to observe Defendant while Defendant was demanding the

car keys and while Defendant was at the vehicle, struggling with the keys. Mr. Nesbitt had his

attention on Defendant Washington during the robbery. Mr. Nesbitt’s prior description of

Defendant supports his identification at the photo array. Mr. Nesbitt also quickly and with

certainty selected Defendant from the photo array even though it was conducted some five

months after the incident. The Court finds that, based on the totality of the circumstances, the

identification for the photo array is reliable.

IV.     CONCLUSION

            For the reasons provided above,

            IT IS ORDERED that the Defendant Tyree Washington’s Motion to Suppress



                                                  -7-
Case 2:10-cr-20198-DPH-PJK ECF No. 96, PageID.276 Filed 07/29/11 Page 8 of 8




Identification [Docket No. 59, filed on December 29, 2010] is DENIED.


                                S/Denise Page Hood
                                Denise Page Hood
                                United States District Judge

Dated: July 29, 2011

I hereby certify that a copy of the foregoing document was served upon counsel of record on July 29,
2011, by electronic and/or ordinary mail.

                                S/Johnetta Curry for LaShawn R. Saulsberry
                                Case Manager




                                                  -8-
